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                     LAW OFFICE OF MOHAMMED GANGAT
                (718) 669-0714 ✦ 675 3rd Ave, Ste 1810, NY, NY 10017 ✦ mgangat@gangatpllc.com

July 31, 2019

Via ECF

Hon. Robert M. Levy, U.S. M.J.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

        RE:     Quinones v. Five Stars of Brooklyn Incorporated et al
                1:19-cv-00512-ENV-RML

To the Hon. Robert M. Levy:

        I am counsel for plaintiff Francisco Quinones (“Plaintiff”) in the above-referenced action
(the “Action”). I write in response to the Court’s Order, dated July 18, 2019. In the July 18
Order, Your Honor raised three issues standing in the way of Your Honor approving the parties’
settlement pursuant to Cheeks v. Freeport Pancake House, 796 F.3d 199 (2d Cir. 2015). Your
Honor also invited the parties to authorize the Court to edit the settlement to address the three
issues. I submit this letter to inform the Court that the parties wish to authorize the Court to
make these edits.
        I have spoken to Morris Fateha, Esq., who has represented to me that he is counsel for all
of the defendants in this action, and Mr. Fateha has informed me in writing that the defendants
consent to edit the agreement to conform to the concerns expressed in the July 18 Order. On
behalf of the Plaintiff, I also consent to the Court doing so.
        I want to express my appreciation to Your Honor for shepherding the parties through the
settlement process. I look forward to providing the Court any further information necessary to
achieve settlement approval. As always, I thank the Court for its time and consideration.



                                                                   Respectfully Submitted,



                                                                   Mohammed Gangat
cc:    Morris Fateha, Esq.
